             Case 2:16-cr-00063-SMJ ECF
                               UNITED   No. 98 D
                                      STATES   filed 03/03/17
                                                 ISTRICT      PageID.312 Page 1 of 1
                                                            COURT
                                  EASTERN DISTRICT OF WASHINGTON

 UNITED STATES OF AMERICA,                              Case No. 2:16-CR-0063-SMJ-02

                                   Plaintiff,           CRIMINAL MINUTES

             vs.                                        DATE: 03/03/2017 LOCATION: Richland

 ALBERT CASTRO, JR., (02),                              CHANGE OF PLEA HEARING
                                   Defendant.




                                            Judge Salvador Mendoza, Jr.
Debbie Brasel                                                                          Kim Allen

Courtroom Deputy                    Law Clerk                        Interpreter       Court Reporter
Scott Travis Jones                                           Christopher R. Black

Plaintiff's Counsel                                          Defendant's Counsel

[XX] Open Court

Defendant present not in custody of the U.S. Marshal

Mr. Jones outlines for the Court the elements of the offense and a summary of the facts in this case

Oath administered to Defendant for change of plea

Plea Agreement signed and filed

Court advises Defendant of Constitutional Rights given up by plea of guilty

Order accepting guilty plea to Count 5 of the Superseding Indictment signed and filed
Order re: schedule for guideline sentencing – filed
All pending motions denied as moot

Sentencing set for Monday, June 19, 2017 at 11:00 A.M. in Spokane

Mr. Jones move Court to take defendant in to custody pursuant to 18 U.S.C. 3143(a)(2)

Mr. Black argues resisting

Court:         Defendant shall be immediately remanded to the custody of the US Marshal pending sentencing in this
               matter.


 CONVENED: 10:50 AM            ADJOURNED: 11:37 AM           TIME:      / 47 MINUTES
